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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF KENTUCKY
                               CENTRAL DIVISION
                                  (at Lexington)

  UNITED STATES OF AMERICA,                    )
                                               )
          Plaintiff,                           )      Civil Action No. 5: 17-431-DCR
                                               )
  V.                                           )
                                               )
  NICHOLAS PETERS, et al.,                     )           SHOW CAUSE ORDER
                                               )
          Defendants.                          )

                                   ***   ***   ***   ***

       The United States moved for entry of default on March 14, 2018. [Record No. 12] The

Clerk of Court entered default the following day. [Record No. 14] However, no action has

taken place since March 2018. In fact, there has been a pattern of delay in prosecuting this

action. The Court previously entered a Show Cause Order in March 2018, after no action

occurred for three months. [Record No. 10] In response, counsel for the United States stated

that, “[i]mmediately upon Entry of Default, Plaintiff will proceed with this action

accordingly.” [Record No. 11] Accordingly, it is hereby

       ORDERED that a hearing will be held in this matter on Monday, July 9, 2018,

beginning at the hour of 11:00 a.m., at the United States Courthouse in Lexington, Kentucky.

The United States will be directed to show cause why this matter should not be dismissed for

failure to prosecute.




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    This 6th day of July, 2018.




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